Case: 1:05-Cv-02085 Document #: 1 Filed: 04/08/05 Page 1 of 2 Paie|D #:1 HC

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IN THE, UNIT.E.D STATES DISTR]CT COURT

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DONEQUA LAWSON and )
DOR[AN REED, )
)
le`mij`s, )
» ese
-vs- ) 8 5
) (jtrry demand)
CITY OF Cl'lICAGO and )
cHicAoo PoLtcE'. oFFICER ) JUDGE COAR
COREY FLAGG, l)
D 1 ‘ l Mnorst'a-A . s sat
efenr rtrtt.s. ) GERA`LDlNE SOA-T -BHDWN

COMPLA|NT

Plaintil`l`s, by counscl, allege as follows:

This is a civil action arising under 42 U.S.C. §1983. The jurisdiction of
this court is conferred by 28 U.S.C. §1343.

Plaintil`fs Doncqua Lawson and Dorian Reed arc residents of thc Northc.rn

District of Illinois.
Dct'endant City ol` Chicago is an lllinois municipal corporation.

Defendant Corey Flagg was at all times relevant acting under color of his

authority as a Chicago policc ol`flcer.

On February of 2004, defendant Flagg and other Chicago police officers

unlawfully entered plaintiffs’ dwelling

Al'ter entcring the dwelling, thc ol"licers conducted an intrusive and

disruptive search, ransacking the dwelling

 

Case: 1:05-Cv-O2085 Document #: 1 Filed: 04/08/05 Page 2 of 2 Page|D #:2
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7. ln the course of the above referred search, defendant Flagg and other Chi-
cage police officers seized and converted to their personal use three hun-

dred dollars in United States currency.

8. Defendant Flagg and other Chicago police officers fabricated evidence that

they used to justify their arrest of defendant Dorian Rccd.

9. As the result of the above described Wrongdoing, plaintiff Dorian Reed
remained in custody until March of 2005, when all charges against him

were dismissed in a manner indicative of his innocence

`l(]. As thc direct and proximate result of the above described acts, plaintiffs
were deprived of rights secured by the Fourtb and Fourteenth Amendment
to the Constitution of the United States and plaintiff Dorian Reed was
subjected to the lllinois tort of false imprisonment and malicious prosecu-
tion, for which the City of Chicago is liable under the doctrine of respon-

deat superior.
l l. Plaintil`fs hereby demand trial by jury.

Whercfore plaintiffs requests that judgment be entered in favor of Done-
qua Lawson in the amount of fifty thousand dollars and in favor of plaintiff
Dorian Reed in the amount of one hundred and fifty thousand dollars, and that

the Court grant whatsoever other relief as may be appropriate

 

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